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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       MCALLEN DIVISION

 MARTHA DELORES MEDINA AND                          §
 DONATO MEDINA, JR.,                                §
     Plaintiffs,                                    §
                                                    §
 v.                                                 §             CIVIL ACTION NO. 7:18-cv-229
                                                    §
 MIDFIRST BANK; MIDLAND                             §
 MORTGAGE CO.; AND BARRETT,                         §
 DAFFIN, FRAPPIER, TURNER &                         §
 ENGEL, L.L.P.,                                     §
      Defendants.                                   §


                                 JOINT NOTICE OF SETTLEMENT


         Plaintiffs Martha Delores Medina and Donato Medina Jr. and Defendants MidFirst Bank,

Midland Mortgage Co. and Barrett Daffin Frappier Turner & Engel, LLP (collectively, the

"Parties") hereby file this Joint Notice of Settlement, respectfully showing the Court as follows:

         The Parties have reached a settlement regarding the claims and causes of action asserted in

the above-referenced and numbered cause. The Parties fully expect to present dismissal papers to

the Court within sixty (60) days. To preserve judicial economy, the Parties request that the Court

remove this case from the trial docket and abate all deadlines.




Joint Notiice of Settlement
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                                      Respectfully Submitted,

                                      HOPKINS LAW, PLLC


                                      /s/ Mark D. Hopkins
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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 9th Day of August, 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to all parties of record:



                                                      /s/ Mark D. Hopkins
                                                     Mark D. Hopkins




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